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10   Attorneys for Plaintiff Bryce Abbink
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11
12                         UNITED STATES DISTRICT COURT

13         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

14
15   Bryce Abbink, individually and on             Case No. 8:19-cv-01257-JFW-PJW
16   behalf of all others similarly situated,
                                                   JOINT STIPULATION TO EXTEND
17                                                 THE DEADLINE TO FILE
                                Plaintiff,
                                                   PLAINTIFF’S MOTION FOR CLASS
18                                                 CERTIFICATION
     v.
19
                                            Hon. John F. Walter
20   Experian Information Solutions, Inc.,
     an Ohio corporation, Lend Tech
21                                          Complaint filed: June 21, 2019
     Loans, Inc., a California corporation,
22   and Unified Document Services, LLC,
     a California Limited Liability
23
     Company,
24
                                Defendant.
25
26
27
28   JOINT STIPULATION TO EXTEND THE         -1-
     DEADLINE TO FILE PLAINTIFF’S
     MOTION FOR CLASS CERTIFICATION
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 1         Plaintiff Bryce Abbink (“Plaintiff”) and Defendant Experian Information
 2   Solutions, Inc. (“Experian”), through their respective counsel, hereby stipulate as
 3   follows:
 4                                         RECITALS
 5         WHEREAS, on June 21, 2019, Plaintiff filed his complaint in this matter in
 6   the United States District Court, Central District of California (the “Complaint”);
 7         WHEREAS, on July 2, 2019, the Complaint was served on Experian’s
 8   registered agent;
 9         WHEREAS, pursuant to Civil L.R. 23-3, Plaintiff’s motion for class
10   certification (“Motion for Class Certification”) is due to be filed on or before
11   September 30, 2019;
12         WHEREAS, counsel for both Parties have met and conferred regarding the
13   deadline for Plaintiff to file his Motion for Class Certification. The Parties agree that
14   a four (4) month extension of the deadline to file the Motion for Class Certification
15   is necessary given the complexity of the issues and the need to complete discovery
16   related to Rule 23 and related class certification issues.
17         WHEREAS, the Parties have been actively engaged in discovery in this case.
18   Plaintiff has served written discovery on Experian, including Interrogatories and
19   Requests for the Production of Documents. Plaintiff has additionally served a Rule
20   30(b)(6) Deposition Notice. Experian served its initial responses to Plaintiff’s First
21   Set of Discovery Requests on August 28, 2019, and Plaintiff’s counsel is diligently
22   reviewing the production for the purposes of identifying any issues on which the
23   Parties need to further meet and confer. The Parties are also presently working to
24   schedule a deposition of Experian’s corporate representative. Experian served notice
25   of its deposition of Plaintiff on Friday, August 30, 2019, which deposition will be
26   scheduled on a mutually agreeable date. Experian will serve its initial discovery
27   requests on Plaintiff on or before Friday, September 6, 2019.
28   JOINT STIPULATION TO EXTEND THE        -2-
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 1         WHEREAS, the Parties have also been actively litigating the case to date.
 2   (See Declaration of Attorney Taylor Smith (“Smith Declaration”) a true and accurate
 3   copy of which is attached as Ex. A.) In addition to the discovery exchanged above,
 4   the Parties are in the process of completing briefing on Experian’s Motion to
 5   Dismiss (see dkts. 25, 34). Additionally, Plaintiff has drafted and filed his Motions
 6   for Alternative Service upon Lend Tech Loans, Inc. and Unified Document Services,
 7   LLC. (Dkts. 31, 32.) Finally, the Parties worked together to draft and file a
 8   Stipulated Protective Order. (Dkt. 30.)
 9         WHEREAS, the Ninth Circuit has previously addressed the strict 90-day class
10   certification deadline imposed by Local Rule 23-3, see ABS Entertainment, Inc. v.
11   CBS Corporation, 908 F.3d 405 (9th Cir. 2018), concluding that the strict 90-day
12   class certification deadline “is incompatible with Federal Rule of Civil Procedure
13   23.” Id. at 427. The ABS Entertainment court explained that, “the class action
14   determination can only be decided after the district court undertakes a ‘rigorous
15   analysis’ of the prerequisites for certification . . . To undertake that analysis may
16   require discovery.” Id.
17         WHEREAS, the Parties are in mutual agreement that pre-certification
18   discovery is necessary to enable the Court to make a decision regarding class
19   certification on a sufficient record. Plaintiff intends to serve a second set of
20   discovery requests to obtain additional information relevant to class certification.
21   Further, Plaintiff’s counsel intends to depose Experian’s corporate representative.
22   By permitting additional time to engage in pre-certification discovery, the Parties
23   will be able to provide a fulsome record upon which this Court can adjudicate class
24   certification. The parties further agree that conducting merits and class discovery
25   contemporaneously will promote judicial economy and conserve the resources of the
26   parties and court.
27
28   JOINT STIPULATION TO EXTEND THE      -3-
     DEADLINE TO FILE PLAINTIFF’S
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 1         WHEREAS, the extension will also provide an opportunity to obtain service
 2   over the remaining defendants, Lend Tech Loans, Inc. (“Lend Tech”) and Unified
 3   Document Services, LLC (“UDS”). That is, both Lend Tech and UDS have yet to be
 4   served in the litigation. Plaintiff has filed motions for alternative service for both
 5   Lend Tech and UDS. (Dkts. 31, 32.) In the event that either Lend Tech or UDS
 6   appears in this action, Plaintiff will be able to obtain additional information that may
 7   potentially be relevant to all the claims and defenses of all Parties.
 8         WHEREAS, the Parties previously sought to extend the deadline for Experian
 9   to respond to Plaintiff’s Complaint, and Plaintiff’s deadline to file his motion for
10   class certification. (Dkt. 17.) On July 17, 2019, the Court granted the extension of
11   deadline for Experian to respond to the Complaint, and denied the extension to for
12   Plaintiff to file his motion for class certification. (Dkt. 19.) The Parties are hopeful
13   that the Court finds good cause and grants the requested extension.
14         WHEREAS, the Parties also sought to continue the hearing on Experian’s
15   Motion to Dismiss to allow Plaintiff additional time to draft and file his Response.
16   (Dkt. 33.) On August 27, 2019, the Court denied the Parties’ stipulation as moot.
17         WHEREAS, the extension is not being sought for any improper purpose and
18   will not disrupt any other deadline.
19         WHEREAS, the new date for Plaintiff to file his Motion for Class
20   Certification will be January 30, 2020.
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   JOINT STIPULATION TO EXTEND THE        -4-
     DEADLINE TO FILE PLAINTIFF’S
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 1                                      STIPULATION
 2         IT IS HEREBY STIPULATED, by and between the parties to this action,
 3   through their respective attorneys of record, as follows:
 4         1.     Plaintiff’s Motion for Class Certification shall be filed no later than
 5   January 30, 2020.
 6         Pursuant to Local Rule 5-4.3.4, Taylor T. Smith hereby attests that the
 7   following signatories concur in the filing’s content and have authorized the filing.
 8         IT IS SO STIPULATED.
 9
10   Dated: August 30, 2019            By:    /s/ Taylor T. Smith
11                                            Aaron D. Aftergood (239853)
12                                            THE AFTERGOOD LAW FIRM
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19                                            *Pro Hac Vice

20                                            Attorney for Plaintiff Bryce Abbink
                                              and the Classes
21
22   Dated: August 30, 2019            By:    /s/ Ryan D. Ball
23                                            Richard J. Grabowski
                                              Ryan Ball
24                                            Jack Williams IV
                                              JONES DAY
25                                            3161 Michelson Drive, Suite 800
                                              Irvine, CA 92612.4408
26
                                              Attorneys for Defendant
27                                            Experian Information Solutions, Inc.
28   JOINT STIPULATION TO EXTEND THE         -5-
     DEADLINE TO FILE PLAINTIFF’S
     MOTION FOR CLASS CERTIFICATION
